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1
     Andrew M. Wagley, ISB #10277
2    Samir Dizdarevic-Miller, ISB #11471
3    ETTER, McMAHON, LAMBERSON,
4    VAN WERT & ORESKOVICH, P.C.
5
     618 W. Riverside Avenue, Suite 210
     Spokane, WA 99201
6
     Phone: 509-747-9100
7    Fax:    509-623-1439
8    Email: awagley@ettermcmahon.com
9    Email: samir@ettermcmahon.com
10   Attorneys for Plaintiff Cody J. Schueler
11
                          UNITED STATES DISTRICT COURT
12                    DISTRICT OF IDAHO (NORTHERN DIVISION)
13
14   CODY J. SCHUELER, an individual,
15
16
                          Plaintiff,            Case No. 2:22-cv-00389-DCN
17
          v.
18                                              MOTION FOR DEFAULT—
19   FOUR SQUAREBIZ, LLC, a                     DEFENDANT FOUR
20   Wyoming limited liability company,         SQUAREBIZ, LLC
21
     KEITH O. CREWS, an individual and
     the associated marital community,
22
     MICAH EIGLER, an individual and
23   the associated marital community, and
24   JOHN AND JANE DOES 1-10,
25
26                        Defendants.
27
28
          COMES NOW, Plaintiff CODY J. SCHUELER, by and through his
29
30   attorneys of record, Andrew M. Wagley and Samir Dizdarevic-Miller of Etter,
31
32
     McMahon, Lamberson, Van Wert & Oreskovich, P.C., and hereby respectfully


       Motion for Default—Page 1                 ETTER, MCMAHON, LAMBERSON,
                                                 VAN WERT & ORESKOVICH, P.C.
                                                       618 WEST RIVERSIDE AVENUE, SUITE 210
                                                   SPOKANE, WASHINGTON 99201 (509) 747-9100
            Case 2:22-cv-00389-DCN Document 19 Filed 12/29/22 Page 2 of 3




1
     moves for an Order of Default against Defendant Four SquareBiz, LLC
2
3    (hereinafter “Four SquareBiz”). This Motion is based upon Fed. R. Civ. P. 55.
4
5
     This Motion is supported by the accompanying Memorandum of Law,
6
     Declaration of Andrew M. Wagley, and the Court File herein.
7
8         As indicated fully in the accompanying Memorandum of Law, an Order of
9
10   Default is warranted as Defendant Four SquareBiz has failed to formally appear,
11
     file an Answer, or otherwise defend against this lawsuit, despite being served the
12
13   Summons and Complaint on September 28, 2022. (See ECF No. 7.)
14
15        RESPECTFULLY SUBMITTED this 29th day of December, 2022.
16
                                          ETTER, McMAHON, LAMBERSON,
17
                                            VAN WERT & ORESKOVICH, P.C.
18
19
20                                        By: /s/ Andrew M. Wagley
21
                                             Andrew M. Wagley, ISB #10277
                                             Samir Dizdarevic-Miller, ISB #11471
22
                                             Attorneys for Plaintiff Cody J. Schueler
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       Motion for Default—Page 2                  ETTER, MCMAHON, LAMBERSON,
                                                  VAN WERT & ORESKOVICH, P.C.
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            Case 2:22-cv-00389-DCN Document 19 Filed 12/29/22 Page 3 of 3




1
                                   CERTIFICATE OF SERVICE
2
3         The undersigned certifies, under penalty of perjury of the laws of the
4
5
     United States, that on the date given below, I caused to be served in the manner
6
     noted copies of the foregoing document upon the following parties:
7
8       Keith Crews                                  U.S. Mail
9       okcrews@yahoo.com                            Facsimile
10      1503 Scenic Overlook Court                   E-Mail
        Kennesaw, GA 30152                           Via Hand Delivery
11
12
        Micah Eigler
13      eigler1@gmail.com                            U.S. Mail
14      6208 Enfield Avenue                          Facsimile
15      Los Angeles, CA 91316                        E-Mail
16      PO Box 9042                                  Via Hand Delivery
17
        Calabasas, CA 91372
18
        Four SquareBiz, LLC
19                                                   U.S. Mail
        okcrews@4squarebiz.com
                                                     Facsimile
20      C/o Registered Agents Inc.
                                                     E-Mail
21      30 North Gould Street, Suite R
        Sheridan, WY 82801                           Via Hand Delivery
22
23
24        EXECUTED this 29th day of December, 2022 in Spokane, Washington.
25
26
27                                     By:/s/ Jodi Dineen
                                          Jodi Dineen
28
29
30
31
32


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                                                    VAN WERT & ORESKOVICH, P.C.
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                                                      SPOKANE, WASHINGTON 99201 (509) 747-9100
